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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.:    2:16cv14413

              TAVARES DOCHER, by and through
              JANICE DOCHER-NEELEY, his mother
              and legal guardian,
                                 Plaintiff,
              vs.
              CHRISTOPHER NEWMAN,
              individually; CLAYTON MANGRUM,
              individually; CALVIN ROBINSON,
              individually; WADE COURTEMANCHE,
              individually; KEN J. MASCARA, as
              SHERIFF of ST. LUCIE COUNTY,
              Florida; JOSE ROSARIO,
              individually; and the ST. LUCIE
              COUNTY FIRE DISTRICT, an
              independent special district,

                             Defendants.
              ________________________________/


                                       DEPOSITION OF
                                      CALVIN ROBINSON

                                        VOLUME 1
                                   Pages 1 through 77

                                 Thursday, May 25, 2017
                                 11:00 a.m. - 12:40 p.m.

                                   Phipps Reporting
                              100 Southeast Third Avenue
                            Fort Lauderdale, Florida 33394

                             Stenographically Reported By:
                           Patricia A. Lanosa, RPR, FPR, CSR


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         1    The following proceedings began at 11:00 a.m.:
         2                 THE COURT REPORTER:       Would you raise your
         3          right hand, please?
         4                 Do you solemnly swear that the testimony
         5          you shall give today will be the truth, the
         6          whole truth, and nothing but the truth?
         7                 THE WITNESS:     I swear.
         8                           CALVIN ROBINSON,
         9    having been first duly sworn or affirmed, was
        10    examined and testified as follows:
        11                         DIRECT EXAMINATION
        12       BY MR. HECHT:
        13          Q.     Good morning, sir.
        14          A.     Good morning.
        15          Q.     My name is Adam Hecht.       I represent
        16    Tavares Docher.      And today we are going to be taking
        17    your deposition.       Have you ever given a deposition
        18    before?
        19          A.     Yes.
        20          Q.     Approximately how many times?
        21          A.     Six.   Seven.
        22          Q.     All right.     Same rules apply as to the
        23    other depositions.       If I ask you a question you
        24    don't understand, just tell me you don't understand
        25    it, and I'll rephrase it.         All right?


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         1          A.     Yes.
         2          Q.     If you answer a question of mine, I'm
         3    going to assume you understood the question; fair
         4    enough?
         5          A.     Yes.
         6          Q.     And I don't expect that we'll be here too
         7    long today.     If you have to step out, that's fine.
         8    Just let me know.       Okay?
         9          A.     Okay.
        10          Q.     Could you state your full name?
        11          A.     Calvin Marcus Robinson, Jr.
        12          Q.     What's your date of birth?
        13                 MR. GIUFFREDA:     If we could put that off
        14          the record.
        15                 MR. HECHT:     His date of birth?
        16                 MR. GIUFFREDA:     Yeah.    I'd rather have it
        17          off the record, in case it gets inadvertently
        18          filed.    It would have to be redacted anyway.
        19                 MR. HECHT:     I never heard of a date of
        20          birth -- social security number, home address
        21          for an officer, but his date of birth?
        22                 MR. GIUFFREDA:     Yes.    I'd rather not have
        23          it in the transcript, because people file
        24          transcripts, summary judgment and things; they
        25          forget to redact it.


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         1                 MR. HECHT:     I don't think there is any
         2          sort of confidentiality for date of birth.
         3                 MR. GIUFFREDA:     No, but you could have
         4          identify theft problems with names and dates of
         5          births.
         6                 MR. HECHT:     That's fine.
         7          Q.     Just tell me what your date of birth is.
         8                 THE COURT REPORTER:       Are we off?
         9                 MR. HECHT:     Sure.
        10                 (Discussion off the record.)
        11       BY MR. HECHT:
        12          Q.     Currently, who is your employer?
        13          A.     I'm a student right now.
        14          Q.     Where are you going to school?
        15          A.     Barry University.
        16          Q.     When did you begin going to Barry
        17    University?
        18          A.     This time around, January.
        19          Q.     Of 2017?
        20          A.     Yes.
        21          Q.     Where is Barry University located?
        22          A.     In Miami Shores.
        23          Q.     What are you studying?
        24          A.     Public administration.
        25          Q.     I heard you say "this time around."           Did


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         1    you attend Barry University at some other time prior
         2    to beginning in January of 2017?
         3          A.     Yes.
         4          Q.     When did you begin the first time?
         5          A.     January 2014.
         6          Q.     And I take it that you did not graduate
         7    from Barry University after you began
         8    in January 2014?
         9          A.     I graduated.
        10          Q.     Okay.   What year did you graduate Barry
        11    University?
        12          A.     2016.
        13          Q.     With a degree in what?
        14          A.     Bachelor's in emergency management.
        15          Q.     While you were a student at Barry
        16    University in May of 2014, were you also working in
        17    addition to studying?
        18          A.     No.    I took that summer off.       It's a
        19    private university, so semesters are shorter.              So
        20    that kind of fell into summer.          So I wasn't working
        21    -- I wasn't going to school at that point.
        22          Q.     The reason why I ask, because we're here
        23    to talk about an incident involving my client
        24    Tavares Docher, that occurred on May 11, 2014.              Do
        25    you understand that?


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         1          A.     Yes.
         2          Q.     And you're telling me that you began
         3    studying at Barry University in January 2014,
         4    correct?
         5          A.     Yes.
         6          Q.     But you were not a student at the time of
         7    this incident?
         8          A.     No.    I took the summer off.
         9          Q.     And why did you take the summer off?
        10          A.     Because I was starting a new job.
        11          Q.     And what was the new job?
        12          A.     It's a deputy sheriff at the St. Lucie
        13    Sheriff's Office.
        14          Q.     Were you still considered to be a student
        15    enrolled at Barry University when you began your
        16    employment with the sheriff's office?
        17          A.     Yes.
        18          Q.     And when did you begin your employment
        19    with the St. Lucie County Sheriff's Office?
        20          A.     March 17, 2014.
        21          Q.     Why is it that you applied for a job at
        22    the St. Lucie County Sheriff's Office?
        23          A.     Because I wanted a job.
        24          Q.     And did you have the intention of going
        25    back to Barry University in the fall of 2014?


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         1          A.     Yes.
         2          Q.     So was your understanding when you took a
         3    position with the St. Lucie County Sheriff's Office
         4    that it would just be for the summertime?
         5          A.     I'm not understanding that one.
         6          Q.     All right.     You told me that you began
         7    your studies at Barry University in January 2014,
         8    correct?
         9          A.     Yes.
        10          Q.     And then summer began, I'm assuming,
        11    sometime in May of 2014?
        12          A.     Yes.
        13          Q.     And you had an opportunity to be employed
        14    by the St. Lucie County Sheriff's Office during the
        15    summer of 2014, correct?
        16          A.     I got hired in the spring, March.
        17          Q.     Right.    You got hired and you began
        18    in March of 2014, correct?
        19          A.     Yes.
        20          Q.     And how long was that employment supposed
        21    to last for with the St. Lucie County Sheriff's
        22    Office?
        23          A.     It's permanent.
        24          Q.     Did you ever have an intention of going
        25    back and being a student at Barry University


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        1    in August or September of 2014?
        2          A.     Yes.
        3          Q.     So is it correct to say that
        4    in August and September of 2014 you were a student
        5    at Barry University while also acting as a deputy
        6    sheriff for the St. Lucie County Sheriff's Office?
        7          A.     Yes.
        8          Q.     I don't want your home address, but in
        9      May of 2014 where were you residing?
       10          A.     In Port St. Lucie.
       11          Q.     How is it that you were a student at Barry
       12    University, which was down in Miami and you worked
       13    in Port St. Lucie?
       14          A.     I went to school online.
       15          Q.     I'm sorry.
       16          A.     I went to school online.
       17          Q.     The two years that you were studying at
       18    Barry University from January of 2014 to 2016, were
       19    all of your courses online?
       20          A.     Yes.
       21          Q.     And during that entire two-year period of
       22    time you were residing in St. Lucie County?
       23          A.     No.
       24          Q.     In January of 2014, tell me the city that
       25    you lived in.


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        1          A.     Miami Gardens.
        2          Q.     And at some point you moved to St. Lucie
        3    County.
        4          A.     Yes, when I got hired.
        5          Q.     So you moved to St. Lucie County
        6    in March of 2014.
        7          A.     Yes.
        8          Q.     And have you resided in St. Lucie County
        9    ever since?
       10          A.     Yes.
       11          Q.     Currently I know you told me you were a
       12    student again at Barry University.           Are you getting
       13    a master's?
       14          A.     Yes.
       15          Q.     How long does that program last?
       16          A.     Eighteen months.
       17          Q.     And currently are you still employed by
       18    the St. Lucie County Sheriff's Office?
       19          A.     No.
       20          Q.     When did you stop your employment with the
       21    St. Lucie County Sheriff's Office?
       22          A.     February 8, 2017.
       23          Q.     Why is it you discontinued your employment
       24    with the St. Lucie County Sheriff's Office
       25    in February of 2017?


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        1          A.     I left to seek another job.
        2          Q.     And what job was that?
        3          A.     As a police officer down here in South
        4    Florida.
        5          Q.     So in February of 2017, which police
        6    department did you start working for?
        7          A.     I didn't work for anyone.
        8          Q.     Okay.   Currently where are you working?
        9          A.     I'm a full-time student.
       10          Q.     All right.     So you told me that you no
       11    longer work for the St. Lucie County Sheriff's
       12    Office as of February 2017, correct?
       13          A.     Yes.
       14          Q.     And you said that you wanted to work for
       15    another police department down south; is that right?
       16          A.     Yes.
       17          Q.     And did you ever gain employment with any
       18    law enforcement agency in South Florida?
       19          A.     No, not yet.
       20          Q.     You're still looking?
       21          A.     Uh-huh.
       22          Q.     Is that a yes?
       23                 MR. GIUFFREDA:     Yes.
       24          A.     Yes.
       25                 MR. GIUFFREDA:     You have to use words.


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        1       BY MR. HECHT:
        2          Q.     Which agencies have you applied to?
        3          A.     Just Miami-Dade.
        4          Q.     Did you go through the interview process?
        5          A.     Yes.
        6          Q.     Put in an application?
        7          A.     Yes.
        8          Q.     And have they rejected you?
        9          A.     No.
       10          Q.     So why is it you're not working for them?
       11          A.     It takes time.
       12          Q.     So are you just waiting to hear back from
       13    them?
       14          A.     Yes.
       15          Q.     Was it your decision to leave the
       16    St. Lucie County Sheriff's Office?
       17          A.     Yes.
       18          Q.     You were not fired?
       19          A.     No.
       20          Q.     You were not terminated?
       21          A.     No.
       22          Q.     Prior to your employment at the St. Lucie
       23    County Sheriff's Office, have you ever worked at any
       24    other law enforcement agency?
       25          A.     No.


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        1          Q.     As you sit here today, is the only law
        2    enforcement agency that you have ever worked for
        3    been the St. Lucie County Sheriff's Office?
        4          A.     Yes.
        5          Q.     Tell me about the training that you went
        6    through before you began your employment at the
        7    St. Lucie County Sheriff's Office.
        8          A.     I went to the Miami-Dade Police Academy,
        9    and there I served as a full-time student in the
       10    police academy.      It was a six-month academy.
       11          Q.     And at the Miami-Dade Police Academy, were
       12    you educated and instructed on what is known as
       13    basic law enforcement training?
       14          A.     Yes.
       15          Q.     And what sort of things are you taught in
       16    the basic law enforcement training?
       17          A.     Conversational techniques, defensive
       18    tactics, shooting, defensive driving, driving with
       19    lights and sirens, interviewing techniques, and
       20    techniques for traffic stops.
       21          Q.     How long does the basic law enforcement
       22    training last for as part of the police academy
       23    training?
       24          A.     Six months.
       25          Q.     During the basic law enforcement training,


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        1    were you trained in the areas of excessive force?
        2          A.     No.
        3          Q.     During the six months of your basic law
        4    enforcement training, were you trained in the area
        5    of what is known as the physiology of a struggle?
        6          A.     Not from what I recall.
        7          Q.     During the six months that you were at the
        8    police academy and you were instructed on basic law
        9    enforcement training techniques, were you trained in
       10    the area of how to properly handcuff individuals?
       11          A.     Yes.
       12          Q.     Are you trained -- strike that.
       13                 Were you trained on how to handcuff
       14    individuals after a struggle ensues?
       15          A.     Yes.
       16          Q.     In your basic law enforcement training
       17    that you underwent at the Miami-Dade Police Academy,
       18    were you trained on how to identify someone that is
       19    experiencing what is known as "excited delirium"?
       20          A.     Yes.
       21          Q.     During the six months that you underwent
       22    your basic law enforcement training, were you
       23    educated on how to identify the signs and symptoms
       24    of someone that is experiencing excited delirium?
       25          A.     Yes.


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        1          Q.     When you began your employment with the
        2    St. Lucie County Sheriff's Office, did they provide
        3    you additional training?
        4          A.     Yes.
        5          Q.     And what did that consist of?
        6          A.     Defensive tactics, shooting, handcuffing
        7    and searching techniques, and scenario-based
        8    training.
        9          Q.     When you were employed by the St. Lucie
       10    County Sheriff's Office, did they provide you
       11    training in the area of excessive force?
       12          A.     Yes.
       13          Q.     During your employment with the St. Lucie
       14    County Sheriff's Office, did they train you in the
       15    area of what is known as the physiology of a
       16    struggle?
       17          A.     No, not from what I recall.
       18          Q.     During your employment with the St. Lucie
       19    County Sheriff's Office, did they train you on how
       20    to properly handcuff individuals after a struggle
       21    ensues?
       22          A.     Yes.
       23          Q.     During your employment with the St. Lucie
       24    County Sheriff's Office, did they provide you
       25    training on how to identify the signs and symptoms


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        1    of someone experiencing excited delirium?
        2          A.     Yes, later.
        3          Q.     And when you say "later," what are you
        4    referring to?
        5          A.     I had to go to a training, which is called
        6    CIT, crisis intervention training.           I went sometime
        7    in 2015.     I want to say January or February.
        8          Q.     I want to be a little bit more specific in
        9    my questioning.
       10          A.     Okay.
       11          Q.     Prior to May 11th of 2014, did the
       12    St. Lucie County Sheriff's Office provide training
       13    to you in the area of excessive force?
       14          A.     Yes.
       15          Q.     Prior to May 11th of 2014, did the
       16    St. Lucie County Sheriff's Office train you in the
       17    area of what is known as the physiology of a
       18    struggle?
       19          A.     No, not from what I recall.
       20          Q.     Prior to May 11th of 2014, did the
       21    St. Lucie County Sheriff's Office train you on how
       22    to properly handcuff an individual after a struggle
       23    ensues?
       24          A.     Yes.
       25          Q.     Prior to May 11, 2014, did the St. Lucie


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        1    County Sheriff's Office train you on how to identify
        2    the signs and symptoms of someone experiencing
        3    excited delirium?
        4          A.     Yes.
        5          Q.     So is it correct that the St. Lucie County
        6    Sheriff's Office not only trained you on how to
        7    identify the signs and symptoms of experienced --
        8    strike that.
        9                 Is it correct that the St. Lucie County
       10    Sheriff's Office not only trained you prior
       11    to May 11, 2014 on how to identify the signs and
       12    symptoms of someone experiencing excited delirium,
       13    but also after May 11, 2014, and as you said
       14    sometime in 2015, you were provided additional
       15    training on how to identify the signs and symptoms
       16    of someone experiencing excited delirium?
       17          A.     Yes.
       18          Q.     Where did you graduate high school?
       19          A.     Miami -- Norland.
       20          Q.     After high school, did you go on to
       21    further -- any sort of education?
       22          A.     I went to Miami-Dade Community College.
       23          Q.     Did you receive a degree from Miami-Dade
       24    College?
       25          A.     No.


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        1          Q.     How long did you study at Miami-Dade
        2    College for?
        3          A.     Maybe a year.
        4          Q.     Why did you leave?
        5          A.     I didn't like it.
        6          Q.     And what did you do once you left?
        7          A.     I joined the military.
        8          Q.     Which branch?
        9          A.     U.S. Air Force.
       10          Q.     And how long did you serve in the U.S. Air
       11    Force for?
       12          A.     Four years.
       13          Q.     You were honorably discharged?
       14          A.     Yes.
       15          Q.     And after you served in the Air Force for
       16    four years, what did you do?
       17          A.     I got out and joined the police academy.
       18          Q.     When you began your employment with the
       19    St. Lucie County Sheriff's Office, what was your
       20    position?
       21          A.     Road deputy.     Deputy sheriff.
       22          Q.     And do you know the month and the year
       23    that you actually joined the St. Lucie County
       24    Sheriff's Office?
       25          A.      March 17, 2014.


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        1          Q.     Were you ever a trainee?
        2          A.     Yes.
        3          Q.     When were you a trainee?
        4          A.     From that point up until, I think,
        5    late July, early August.
        6          Q.     Explain to me what it means when you're
        7    working at the St. Lucie County Sheriff's Office and
        8    you have the title of a trainee.
        9          A.     It means that you're being trained in
       10    agency standard procedures and that you start first
       11    with understanding the policies that the agency has
       12    implemented, and you go on to how to use the
       13    computer system, and then you go to defensive
       14    tactics training, and from there you go on to the
       15    road, and you go on to field training.
       16          Q.     When you're a trainee, are you assigned to
       17    another officer?
       18          A.     Yes.
       19          Q.     On May 11th, 2014, who was the officer
       20    that you were assigned to supervise you?
       21          A.     Clay Mangrum.
       22          Q.     And how long were you Deputy Sheriff
       23    Mangrum's trainee for?
       24          A.     I'm not sure.
       25          Q.     Is it a few months; or is it a year?


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        1          A.     No.    I want to say somewhere between three
        2    and five weeks.
        3          Q.     At the time of this incident, which
        4    occurred on May 11, 2014, were you Deputy Sheriff
        5    Mangrum's trainee?
        6          A.     Yes.
        7          Q.     On the date of this incident, May 11,
        8    2014, were you riding in the same patrol car as
        9    Deputy Sheriff Mangrum?
       10          A.     Yes.
       11          Q.     What were you wearing on this day?
       12          A.     A deputy sheriff standard uniform.
       13          Q.     Did you have a gun belt?
       14          A.     Yes.
       15          Q.     Did you have a gun?
       16          A.     Yes.
       17          Q.     A flashlight?
       18          A.     Yes.
       19          Q.     The tactical gear we see officers wear
       20    around their belt?
       21          A.     Yes.
       22          Q.     Were you wearing any sort of tactical
       23    clothing?
       24          A.     No.
       25          Q.     On the day of this incident, was Deputy


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        1    Mangrum wearing anything other than the standard
        2    sheriff's uniform that are given to you?
        3          A.     No.
        4          Q.     Were either you or Deputy Mangrum wearing
        5    a gun on your leg?
        6          A.     No.
        7          Q.     Were either of you wearing a bulletproof
        8    vest?
        9          A.     Yes.
       10          Q.     You both were?
       11          A.     Yes.
       12          Q.     And that's underneath your clothing?
       13          A.     Yes.
       14          Q.     And as a trainee, do you have all of the
       15    same authority that any other deputy sheriff would
       16    have?
       17          A.     Yeah.
       18          Q.     What I'm asking is, As a trainee, do you
       19    have the ability to make arrests?
       20          A.     Yes, but that depends on what part of the
       21    training you're in.
       22          Q.     On May 11, 2014, what part of the training
       23    were you in?
       24          A.     Second phase.
       25          Q.     Go through the phases with me, if you


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        1    will.
        2          A.     Phase 1, you ride with somebody for a
        3    week, and they kind of show you just what's going
        4    on.
        5                 Phase 2, you ride with somebody between
        6    three to six weeks, and you go from just being a
        7    passenger to actually doing things.
        8                 Phase 3, you are being evaluated.          The
        9    trainer is not really saying or doing much, but they
       10    are helping you along the way.
       11                 And then you have 4, which is the exit
       12    phase, and you get a totally different field
       13    training officer, and they don't say anything to
       14    you; they just evaluate you as you do your job.
       15          Q.     So Phase 1 you're in a ride-along for one
       16    week?
       17          A.     Yes.
       18          Q.     And Phase 2 you're in a ride-along for
       19    three to six weeks?
       20          A.     Yes.
       21          Q.     And Phase 3, how long does that last for?
       22          A.     I don't remember specifically.
       23          Q.     And Phase 4, how long does that last?
       24          A.     A couple of weeks.
       25          Q.     On May 11, 2014 you were in Phase 2.


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        1          A.     Yes.
        2          Q.     And what I heard you say to me is that
        3    during your Phase 2 you were riding along with
        4    Deputy Sheriff Mangrum and you're a passenger and
        5    you're able to do things.
        6                 What specifically are you referring to
        7    when you say you're able to do things?
        8          A.     Well, at this point you're able to make
        9    arrests; you're able to establish your own probable
       10    cause.     It goes into a gradual progression.
       11          Q.     I think the best way to ask this would be
       12    for you to tell me those things that you are not
       13    able to do during the Phase 2 program that you would
       14    be able to do in Phase 3 or Phase 4.
       15          A.     Determine which cause that you take.
       16          Q.     What does that mean?
       17          A.     Well, when you have a cause -- you have a
       18    CAD system -- you prioritize your calls based on the
       19    severity of it, or just the priority of it.
       20                 In Phase 2 you're being instructed, okay,
       21    we're going to take this call because this will give
       22    you a good experience.        You need this; this is
       23    something that's going to be on your checklist, so
       24    we're going to take this call.
       25          Q.     What else are you not able to do during


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        1    Phase 2 that you would be able to do during Phase 3
        2    or Phase 4?
        3          A.     I don't know, I think that's pretty much
        4    it.
        5          Q.     During Phase 2, are there things that you
        6    are not allowed to do -- strike that.
        7                 During Phase 2 are there things that a
        8    deputy sheriff is able to do that you're not able to
        9    do as a trainee in Phase 2.
       10          A.     No, I think I summed it up already.
       11          Q.     So all of the arrest powers, and the
       12    ability to take someone's liberty away is something
       13    that you're able to do in Phase 2?
       14          A.     Yes.
       15          Q.     You could make those decisions.
       16          A.     Yes, but at the discretion of the trainer
       17    to guide you through the process.
       18          Q.     On May 11, 2014 -- and we're going to talk
       19    about the incident in greater detail -- but prior to
       20    you making a decision to do anything --
       21          A.     Yes.
       22          Q.     -- do you have to ask Deputy Sheriff
       23    Mangrum for his approval?
       24          A.     Yes.
       25          Q.     So explain to me just generally, not


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        1    specifically involving this incident, but just
        2    generally what it is during Phase 2 that you would
        3    need to get Deputy Sheriff Mangrum's approval for
        4    prior to you making an arrest or initiating contact
        5    with the civilian.
        6          A.     The best way I can describe it is that you
        7    come into a situation and you're brand new, and
        8    you're getting a lot of things thrown at you; you
        9    turn back and you look at your FTO and you say,
       10    "What do I do now?"       And then they give you
       11    guidance, okay.      This is agency policy; this is
       12    standard procedure.       If you have this, this, and
       13    this, this is the elements of a crime.            I think that
       14    pretty much answers it.
       15          Q.     Would you agree with me that in the basic
       16    law enforcement training that you underwent, that an
       17    elbow strike to a person's temple is classified as
       18    deadly force?
       19                 MR. GIUFFREDA:     Form.    You could answer.
       20          A.     Say that again.
       21                 MR. GIUFFREDA:     You could answer.
       22          A.     I don't remember that.
       23       BY MR. HECHT:
       24          Q.     Would you agree with me that in the basic
       25    law enforcement training course that you underwent


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        1    that an elbow strike to a person's temple is likely
        2    to cause great bodily harm?
        3                 MR. GIUFFREDA:     Form.    You could answer.
        4          A.     I do not remember that.
        5       BY MR. HECHT:
        6          Q.     Would you agree with me that in the basic
        7    law enforcement training course that you underwent,
        8    that striking a person on the side of the jaw is
        9    likely to cause great bodily harm?
       10                 MR. GIUFFREDA:     Form.    You could answer.
       11          A.     Yes.
       12       BY MR. HECHT:
       13          Q.     Would you agree with me that in the basic
       14    law enforcement training course that you underwent,
       15    that striking someone on the side of the jaw is
       16    classified as using deadly force?
       17                 MR. GIUFFREDA:     Form.    You could answer.
       18          A.     No.
       19       BY MR. HECHT:
       20          Q.     Would you agree with me that the basic law
       21    enforcement training that you underwent, that
       22    striking a person on the bridge of their nose is
       23    likely to cause great bodily harm?
       24                 MR. GIUFFREDA:     Form.    You could answer.
       25          A.     Yes.


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        1       BY MR. HECHT:
        2          Q.     Would you agree with me in the basic law
        3    enforcement course that you underwent, that striking
        4    a person on the bridge of their nose is classified
        5    as using deadly force?
        6                 MR. GIUFFREDA:     Form.    You could answer.
        7          A.     Yes.
        8       BY MR. HECHT:
        9          Q.     Would you agree with me that in the basic
       10    law enforcement course that you underwent, that
       11    striking a person on their throat is likely to cause
       12    great bodily harm?
       13                 MR. GIUFFREDA:     Form.    You could answer.
       14          A.     Yes.
       15       BY MR. HECHT:
       16          Q.     Would you agree with me in the basic law
       17    enforcement course that you underwent that striking
       18    a person on their throat is classified as using
       19    deadly force?
       20                 MR. GIUFFREDA:     Form.    You could answer.
       21          A.     I don't remember.
       22       BY MR. HECHT:
       23          Q.     Would you agree with me that the basic law
       24    enforcement training course that you underwent that
       25    striking a person in the back of their head is


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        1    likely to cause great bodily harm?
        2                 MR. GIUFFREDA:     Form.    You could answer.
        3          A.     Yes.
        4       BY MR. HECHT:
        5          Q.     And the basic law enforcement training
        6    course that you underwent, would you agree with me
        7    that striking someone in the back of their head is
        8    classified as using deadly force?
        9                 MR. GIUFFREDA:     Form.    You could answer.
       10          A.     I do not remember.
       11       BY MR. HECHT:
       12          Q.     Would you agree with me that based on your
       13    training and experience that someone exhibiting the
       14    signs and symptoms of an excited delirium is
       15    classified as a medical emergency?
       16                 MR. GIUFFREDA:     Form.    You could answer.
       17          A.     Yes.
       18       BY MR. HECHT:
       19          Q.     And would you agree with me that as a law
       20    enforcement officer, if you came in contact with
       21    someone who you believed to be experiencing the
       22    symptoms of excited delirium that you would contact
       23    a medical professional?
       24                 MR. GIUFFREDA:     Form.    You could answer.
       25          A.     Yes.


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        1
        2       BY MR. HECHT:
        3          Q.     As a law enforcement officer, based upon
        4    your training and experience, if you came in contact
        5    with someone who was exhibiting the symptoms of
        6    excited delirium, would you place them in handcuffs
        7    prior to contacting a medical health professional if
        8    that person did not commit a crime?
        9                 MR. GIUFFREDA:     Form.    You could answer.
       10          A.     Yes.
       11       BY MR. HECHT:
       12          Q.     And why is that?
       13          A.     Because in St. Lucie County if you
       14    transported anyone anywhere in the back seat of your
       15    car, by policy they had to have handcuffs on, or
       16    rescue would not arrive to the scene unless the
       17    person was secured, the scene was safe.
       18          Q.     What I want to know specifically is:
       19    Based upon your training and experience, if you came
       20    in contact -- who was exhibiting the signs and
       21    symptoms of excited delirium, and that person had
       22    not committed a crime, you're telling me that you
       23    would place that person in handcuffs solely because
       24    they were exhibiting the signs and symptoms of
       25    excited delirium?


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        1                 MR. GIUFFREDA:     Form.    You could answer.
        2          A.     Yes.    Based off my training and experience
        3    working in St. Lucie County, if you were going to
        4    Baker Act or Marchman Act them, you had to place
        5    them in handcuffs, even though they were not under
        6    arrest.    If you were transporting them, by policy
        7    they had to be in handcuffs.         Or if rescue was going
        8    to transport them, if they calmed down at whatever
        9    point and rescue decided they were going to take
       10    them, then you would take off the handcuffs.             Before
       11    then, rescue would not show up; they would stage
       12    until the scene was cleared by law enforcement.
       13       BY MR. HECHT:
       14          Q.     For the purposes of my question, I want
       15    you to assume that there would be no reason to
       16    transport someone in an ambulance.           Okay?
       17          A.     Okay.
       18          Q.     When you say "rescue," I'm assuming that
       19    means an ambulance.
       20          A.     Yes.
       21          Q.     So let me ask the question again.
       22                 Based on your training and experience, if
       23    you came in contact with someone who was exhibiting
       24    the signs of excited delirium, and that person had
       25    not committed a crime, and that person did not need


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        1    to be placed in an ambulance, would you place
        2    handcuffs on that individual?
        3                 MR. GIUFFREDA:     Form.    You could answer.
        4          A.     If they were being Baker Acted, yes.
        5       BY MR. HECHT:
        6          Q.     And for the purpose of this question, I
        7    want you also to assume that the person was not
        8    going to be Baker Acted.        Okay?
        9          A.     Okay.
       10          Q.     So no Baker Act, no transporting in an
       11    ambulance.     Okay?
       12          A.     Okay.
       13          Q.     So let me ask the question again.
       14                 Based on your training and experience, if
       15    you came in contact with an individual who was
       16    exhibiting the signs and symptoms of excited
       17    delirium, and that person did not commit a crime,
       18    and was not being Baker Acted, and was not being
       19    transported in an ambulance, would you place that
       20    individual in handcuffs?
       21                 MR. GIUFFREDA:     Form.    You could answer.
       22          A.     No.
       23       BY MR. HECHT:
       24          Q.     Based upon your training and experience,
       25    if you came in contact with an individual who was


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        1    exhibiting the signs and symptoms of excited
        2    delirium, and that person committed a misdemeanor
        3    and was being placed under arrest for a misdemeanor,
        4    and again was experiencing excited delirium, would
        5    you place that individual in handcuffs?
        6                 MR. GIUFFREDA:     Form.    You could answer.
        7          A.     Yes.
        8       BY MR. HECHT:
        9          Q.     Have you been trained -- strike that.
       10                 You told me that you had been trained on
       11    how to identify the signs and symptoms of excited
       12    delirium, correct?
       13          A.     Yes.
       14          Q.     Can you please tell me what you learned
       15    based on your training and experience on what to
       16    identify in order to determine if someone is
       17    experiencing excited delirium?
       18          A.     Prior to May 11th or after?
       19          Q.     Prior to May 11th.
       20          A.     Prior to May 11th we had training on
       21    excited delirium, and it was video-based training of
       22    officers dealing with people who were suffering from
       23    it.   And it was mainly training based off how to
       24    identify the erratic behavior and how to restrain
       25    them as you fought against them -- you fought with


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        1    them.
        2          Q.     Prior to May 11, 2014, tell me what you
        3    were taught by the St. Lucie County Sheriff's Office
        4    in terms of what signs and symptoms you would notice
        5    about someone experiencing excited delirium.
        6          A.     Irrational, erratic behavior.         Sometimes
        7    violent tendencies.       Extremely high body
        8    temperatures.       I was taught that it could be a
        9    brain-induced chemical imbalance, or it could be
       10    drug or alcohol induced, and that if you do
       11    recognize the signs, that you should call rescue
       12    after they have been properly restrained.
       13          Q.     In this case involving your interaction
       14    with Tavares Docher, did you ever identify Tavares
       15    Docher to be experiencing excited delirium?
       16          A.     After the fight, yes.
       17          Q.     Did you come in contact with Tavares
       18    Docher prior to him being placed in handcuffs?
       19          A.     Yes.
       20          Q.     Anytime prior to your -- strike that.
       21                 Anytime prior to Tavares Docher being
       22    placed in handcuffs, did you make a determination
       23    whether he was experiencing excited delirium?
       24          A.     No.
       25          Q.     No you did not notice him experience


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        1    excited delirium; or no you did not make a
        2    determination?
        3          A.     No, I did not make a determination.
        4          Q.     Why not?
        5          A.     Because the investigation wasn't complete
        6    upon interacting with him.
        7          Q.     Were you taught in the basic law
        8    enforcement courses that you underwent that when an
        9    individual is lying on their stomach and being
       10    handcuffed that they may have trouble breathing when
       11    pressure is applied to their back?
       12          A.     Yes.
       13          Q.     And did you also learn that if too much
       14    pressure is a applied to an individual's back when
       15    they are being handcuffed by officers, that they may
       16    suffer from oxygen deficiency?
       17          A.     Yes.
       18          Q.     Did you also learn all about oxygen
       19    deficiency when placing an individual under arrest,
       20    once you began your training at the St. Lucie County
       21    Sheriff's Office?
       22          A.     Yes.
       23          Q.     All right, I want to talk about May 11,
       24    2014.    Tell me what it is that you recall about your
       25    involvement with Tavares Docher?


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        1          A.     On May 11, 2014 I was dispatched to a call
        2    at a CVS.     The call was initially classified as a
        3    9-1-1 hang-up.      But prior to my arrival to the call,
        4    it was -- the classification was changed to
        5    disorderly conduct.
        6                 Upon arriving at the CVS gas station --
        7    excuse me -- CVS, my trainer, who was driving at the
        8    time, got out of the vehicle and made contact with
        9    Tavares Docher.      I saw Tavares drop something on the
       10    ground, and my trainer kicked it away.            As we pulled
       11    up, I noticed that Tavares Docher was standing,
       12    because he was described in the CAD system as a
       13    black male wearing a green shirt, black shorts.              I
       14    saw a male matching that description standing out
       15    front with another man.
       16                 I went and I spoke with the other man, who
       17    was later identified as the manager of the CVS.              And
       18    he said that Mr. Docher came into the CVS and was
       19    speaking about a SEAL team out of Broward County,
       20    and that they had killed somebody.           And he said that
       21    Mr. Docher was scaring the customers.            He also
       22    realized that he was holding a screwdriver in his
       23    hand, but was attempting to conceal it.
       24                 And at a certain point they called 9-1-1
       25    to get him out of the store.         But the manager was


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        1    able to talk with him.        And he stood outside with
        2    him until myself and Deputy Mangrum arrived.             And so
        3    I went back to where Deputy Mangrum and Mr. Docher
        4    were standing.      I picked up the screwdriver, which
        5    was in the parking median side of the dirt, and I
        6    secured it inside my patrol car, and I patted
        7    Mr. Docher down.
        8                 And then I got out my pad and started
        9    getting his information, standard information:
       10    Name, date, social security number.           He rattled off
       11    everything.     He informed me that he was a sexual
       12    offender of Broward County, and that he was visiting
       13    Port St. Lucie to attend a court hearing.
       14                 We asked him about the -- what happened
       15    inside of the CVS.       He went on to tell us that there
       16    was a SEAL Team Six out of Broward County Sheriff's
       17    Office, and that they had murdered someone and they
       18    cut off their head and he knew where the body was,
       19    and now they were coming to get him.
       20                 At that point Deputy Newman pulled up and
       21    he started interviewing Mr. Docher.           And it was
       22    pretty much from that point a question-and-answer
       23    session between Deputy Mangrum and Deputy Newman.
       24    And at a certain point Deputy Newman placed him
       25    under arrest.      And Mr. Docher asked, "Why am I being


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        1    arrested?"     He said, "disorderly intox."         And he
        2    asked Mr. Docher had he been drinking.            He said,
        3    "Yes, I had a few Natty Ices -- Natural Ices."               I
        4    guess it's a malt liquor or a beer.
        5                 At that point we took him to Deputy
        6    Newman's patrol car.        We opened up the back seat,
        7    placed him into the back seat, sat him first,
        8    instructed him to sit down.         First placed his feet
        9    inside of the car.       He looked at us.      We repeat --
       10    Deputy Mangrum repeated, "put his feet inside of the
       11    car."    And he continued to look at us, and then I
       12    told him "to put his feet inside of the car."
       13                 After that he started to stand up.          I
       14    placed my hand on top of his forehead and tried to
       15    force him into the car, but he lunged forward.               I
       16    moved out of the way, and Deputy Newman and
       17    Deputy Mangrum were being pushed back.            I stepped to
       18    the side, gave two strikes to the outer muscle of
       19    his leg, and took his feet from underneath him.              We
       20    fell to the ground.
       21                 Deputy Mangrum or Deputy Newman were close
       22    to his head.      I was close to his feet.        And at that
       23    point we tried to gain control over him.            Deputy
       24    Mangrum called for backup and rescue.            And at that
       25    point we tried to restrain him the best that we


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        1    could.    The St. Lucie sheriff's office does not
        2    offer leg shackles.       They offer a rope to tie your
        3    legs together.       And we held him down the best that
        4    we could.     And after a certain point he got tired.
        5    And once he got tired the rescue -- excuse me -- the
        6    paramedics came.       When the paramedics came they
        7    asked us what was wrong with him.           We told them a
        8    quick version of it.        He attempted to try to run.
        9                 Okay.   At that point he was bleeding from
       10    his head from the fall which he had took, and rescue
       11    asked me to help roll him over to put him on the
       12    gurney.    I rolled him over.       He placed him on the
       13    gurney.    He kicked one of paramedics.          The
       14    paramedics fell backwards and Mr. Docher began to
       15    fight again.
       16                 The paramedic went into the ambulance,
       17    came out with a solution and a syringe.            He filled
       18    the syringe with that solution and gave Mr. Docher a
       19    shot in his buttocks.        Mr. Docher became sedated and
       20    let out a large gasp of air.         The paramedic looked
       21    at the other paramedic and said, "He just coded."
       22    What does that mean?        He said, "He just died."        I
       23    helped -- the paramedics placed him into the back of
       24    the ambulance.       I jumped into the ambulance with the
       25    paramedics.     One of them was driving.         The other one


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        1    was working on him.       The paramedics asked me to
        2    unhandcuff him, and place his arms on -- or at least
        3    handcuff him to the gurney.         So I used my handcuffs,
        4    unlocked him, and placed his -- I unlocked Deputy
        5    Newman's handcuffs, laced one arm on one side of the
        6    gurney, and I used a set of my handcuffs to place
        7    his other arm on the other side of the gurney.
        8                 As we rode towards Port St. Lucie
        9    Hospital, the paramedics asked me to perform chest
       10    compressions.      I helped perform chest compressions.
       11    Then he performed chest compressions, and he asked
       12    me to assist him with a breathing apparatus that you
       13    had to squeeze as you held it over the patient's
       14    mouth.     So I helped with that.
       15                 At some point the paramedic cut off
       16    Mr. Docher's shirt with a pair of scissors, applied
       17    an AED and gave him two electrical shocks.             And the
       18    second shock Mr. Docher came responsive, and at that
       19    point we arrived at the hospital.           Once we got to
       20    the hospital, the paramedics parked, took him out of
       21    the back of the ambulance on the gurney and rolled
       22    him into the ER, which he was then assisted by the
       23    hospital medical staff.
       24          Q.     Were you and Deputy Sheriff Mangrum the
       25    first law enforcement officers to arrive at the CVS?


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        1          A.     Yes.
        2          Q.     So when the car that you and Deputy
        3    Sheriff Mangrum -- strike that.
        4                 When you and Deputy Sheriff Mangrum
        5    arrived at the CVS, there were no other police
        6    officers there, correct?
        7          A.     No.
        8          Q.     Correct, there were no other police
        9    officers there?
       10          A.     No, there were no other police officers.
       11          Q.     And when you arrived, you saw Tavares
       12    Docher outside of the CVS?
       13          A.     Yes.
       14          Q.     And explain to me his demeanor when you
       15    arrived to the CVS.
       16          A.     When we pulled up into the parking lot,
       17    Mr. Docher began walking briskly towards the patrol
       18    car, and Deputy Mangrum was parked adjacent; he was
       19    the closest to Mr. Docher, and he made contact
       20    first.     And Mr. Docher seemed somewhat relieved we
       21    were there, because he wanted to explain his
       22    situation and why he believed that his life was in
       23    danger.
       24          Q.     And when Tavares Docher was speaking with
       25    Deputy Sheriff Mangrum, were you still inside the


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        1    police car?
        2          A.     No.
        3          Q.     So is it correct that you and Deputy
        4    Sheriff Mangrum both made contact with Tavares
        5    Docher?
        6          A.     Yes.
        7          Q.     And at that point when you initially spoke
        8    with Tavares Docher, did you ever feel that your
        9    life was in danger at that point?
       10          A.     No.
       11          Q.     Did you ever feel if at that point Tavares
       12    Docher was exhibiting any signs that would place you
       13    or Deputy Sheriff Mangrum in fear for your lives?
       14          A.     At that point when we were speaking to
       15    him, no.
       16          Q.     And during this conversation, did it
       17    appear to you if Tavares Docher was experiencing
       18    excited delirium?
       19          A.     No.    I wasn't sure what he was
       20    experiencing.       This was my second week on the road,
       21    so I knew he was off, but I didn't know what was
       22    wrong with him.
       23          Q.     And when you say that you "knew that he
       24    was off," what do you mean by that?
       25          A.     Well, the Broward County Sheriff's Office


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        1    doesn't have a SEAL Team Six, nor do they decapitate
        2    people.
        3          Q.     So you felt that Tavares Docher was acting
        4    strange.
        5          A.     Yes.
        6          Q.     Did you feel that he may be under the
        7    influence of alcohol or drugs?
        8          A.     At that point I didn't know.
        9          Q.     Did you think that Tavares Docher may be
       10    experiencing a psychotic episode?
       11          A.     At that point I didn't know.         It was all
       12    through the interpretation.
       13          Q.     And during this conversation that you and
       14    Deputy Sheriff Mangrum had with Tavares Docher, is
       15    it correct that Tavares Docher told you and Deputy
       16    Sheriff Mangrum that he had drank some Natty Ice?
       17          A.     He told that to myself and deputy --
       18    excuse me -- myself, Deputy Mangrum, and Deputy
       19    Newman.    Because Deputy Newman asked him, "How much
       20    have you had to drink"?
       21          Q.     How long did the conversation last between
       22    you, Deputy Mangrum, and Tavares Docher before
       23    Deputy Newman arrived?
       24          A.     To be specific, I don't know.         Anywhere
       25    between two to five minutes.         Two to five, six


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        1    minutes.
        2          Q.     And is it correct that Deputy Sheriff
        3    Newman was the third officer to be on scene?
        4          A.     Technically, he was the second because I
        5    was still riding with him.         But, yes, you could say
        6    that.
        7          Q.     So after the conversation that you and
        8    Deputy Sheriff Mangrum had, is it fair to say that
        9    Deputy Sheriff Newman arrived on scene and then
       10    there were three police officers on scene?
       11          A.     Yes.
       12          Q.     And at that point Deputy Sheriff Newman
       13    started to participate in the conversation that you
       14    were having with Tavares Docher?
       15          A.     Yes.
       16          Q.     And during the conversation that you,
       17    Deputy Sheriff Mangrum, Deputy Sheriff Newman was
       18    having with Tavares Docher, at any point during that
       19    conversation did you start to think to yourself:
       20    This individual is experiencing excited delirium?
       21          A.     No.    Not at that point.
       22          Q.     How is Tavares Docher's demeanor once
       23    Deputy Sheriff Newman arrived on scene?
       24          A.     He was still pretty calm and collected.
       25          Q.     How long after Deputy Sheriff Newman


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        1    arrived was Tavares Docher placed under arrest for
        2    disorderly conduct?
        3          A.     A few minutes.     Say, at least 10.
        4          Q.     Okay.   So during that period of time, tell
        5    me why it was that Deputy Sheriff Newman placed
        6    Tavares Docher under arrest for disorderly conduct.
        7                 MR. GIUFFREDA:     Form.    You could answer.
        8          A.     Why?    I'm not really sure why he did it.
        9    Maybe that was his best decision.
       10       BY MR. HECHT:
       11          Q.     Well, you were there, correct?
       12          A.     Yes.
       13          Q.     And you were involved in all the
       14    conversations that Deputy Sheriff Newman was having
       15    with Tavares Docher?
       16          A.     Yes.
       17          Q.     And so far, I've heard you tell me that
       18    Tavares Docher seemed kind of off, correct?
       19          A.     Yes.
       20          Q.     And I've asked you to describe his
       21    demeanor.     And you've told me it was pretty calm.
       22    "He was relieved to have us there," correct?
       23          A.     Yes.
       24          Q.     So what I want to know is, is that if you
       25    got a calm person who is relieved that law


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        1    enforcement is there to help them, why is it that
        2    Deputy Sheriff Newman placed Tavares Docher under
        3    arrest for disorderly conduct?
        4                 MR. GIUFFREDA:     Form.    You could answer.
        5           A.    Sir, I can't really answer that question
        6    for Deputy Newman.
        7       BY MR. HECHT:
        8           Q.    Do you believe that there was probable
        9    cause at that point for Deputy Sheriff Newman to
       10    place Tavares Docher under arrest for disorderly
       11    conduct based on what you observed?
       12                 MR. GIUFFREDA:     Form.    You could answer.
       13           A.    Do I personally believe that?         Yes.
       14       BY MR. HECHT:
       15           Q.    So my question is:      Based on your training
       16    and experience, why is it that there was probable
       17    cause to place Tavares Docher under arrest for
       18    disorderly conduct?
       19                 MR. GIUFFREDA:     Form.    You could answer.
       20           A.    Well, to be honest, it really could have
       21    went either way.       As I said before, he was a little
       22    off.    So with the conversations of the Broward
       23    sheriff's office SEAL Team Six, the decapitations,
       24    between speaking with him and asking him about his
       25    personal history and him disclosing the information


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        1    that, you know, he had been arrested in Broward
        2    County, that he had -- that he was a registered sex
        3    offender, that he knew his birthday, social security
        4    number, he knew where he was, he knew why he was in
        5    town, it could have went either way.           I know
        6    personally from my standpoint while talking with
        7    him, as the wind changed -- the wind of the
        8    direction changed -- excuse me -- the wind of the
        9    direction changed, I smelled alcohol on his breath.
       10    So I think that answers your question.            But I can't
       11    tell you why he decided to do that.
       12       BY MR. HECHT:
       13          Q.     And your testimony is that Deputy Sheriff
       14    Newman placed Tavares Docher under arrest for
       15    disorderly conduct?
       16          A.     Yeah.
       17                 MR. GIUFFREDA:     Form.    You could answer.
       18          A.     Yeah.
       19       BY MR. HECHT:
       20          Q.     What are the elements to arrest someone
       21    for disorderly conduct?
       22          A.     Well, you either are drunk in a public
       23    place causing a disturbance, or you are -- you're
       24    just inebriated and you're going to be a danger to
       25    yourself.     You're causing a public nuisance.


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        1          Q.     And disorderly conduct is a second-degree
        2    misdemeanor, correct?
        3          A.     I'm not sure.
        4          Q.     But it is a misdemeanor, correct?
        5          A.     Yes.
        6          Q.     It's certainly not a felony?
        7          A.     No.
        8          Q.     In order to place someone under arrest for
        9    a second degree misdemeanor, does the officer have
       10    to observe the conduct of the person?
       11                 MR. GIUFFREDA:     Form.    You could answer.
       12          A.     Yes.
       13       BY MR. HECHT:
       14          Q.     Based on what you observed during this
       15    interaction that you had with Tavares Docher outside
       16    of the CVS, do you believe that Tavares Docher was
       17    drunk?
       18                 MR. GIUFFREDA:     Form.    You could answer.
       19                 MS. TYK:    Object to form.
       20          A.     What did she say?
       21                 MR. GIUFFREDA:     She just joined in my
       22          objection.     You could answer.
       23          A.     Could you ask the question one more time?
       24       BY MR. HECHT:
       25          Q.     Sure.   Based upon your interaction with


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        1    Tavares Docher outside of the CVS, prior to deputy
        2    sheriff Newman arresting Tavares Docher, do you
        3    believe that Tavares Docher was drunk?
        4                 MR. GIUFFREDA:      Form.   You could answer.
        5          A.     To be --
        6                 MS. TYK:    Join.
        7          A.     To be quite honest, I wasn't sure.
        8                 MS. TYK:    Go ahead.
        9          A.     It was -- like I said, it was my second
       10    week on the job.       He had been drinking, but I
       11    wouldn't -- to be honest, I wasn't sure -- I didn't
       12    know whether he was drunk or not.           I didn't know
       13    whether he was mentally delusional.           I didn't know
       14    whether it was a combination of both.            I didn't
       15    know.
       16       BY MR. HECHT:
       17          Q.     During the interaction that you had with
       18    Tavares Docher prior to Deputy Sheriff Newman
       19    placing Tavares Docher under arrest, did you witness
       20    Tavares Docher causing any sort of public
       21    disturbance?
       22                 MR. GIUFFREDA:      Form.   You could answer.
       23          A.     He was very loud and boisterous, and he
       24    caused a scene at several points.           Basically, the
       25    volume of his voice caused a lot of attention.              But


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        1    he -- other than that, he was very animated.             So as
        2    he told the story about the Broward County Sheriff
        3    Office SEAL Team Six, he was kind of flailing around
        4    and just telling the story for the most part.
        5    That's mainly it.
        6       BY MR. HECHT:
        7          Q.     Okay.   My specific question is, though:
        8    Prior to Tavares Docher being placed under arrest by
        9    Deputy Sheriff Newman, did you feel that based upon
       10    your interaction with Tavares Docher that he was
       11    causing a public disturbance?
       12                 MR. GIUFFREDA:     Form.    You could answer.
       13          A.     Yes.
       14       BY MR. HECHT:
       15          Q.     Didn't you tell me, though, prior he was
       16    calm and that he was relieved that you guys were
       17    there?
       18          A.     Yes, but he kind of wavered, because he
       19    had highs and lows during the conversation; like,
       20    when we got there, I guess he was calm.            Then as he
       21    told the story, he got up there.          And then I asked
       22    him about his background; he got calm again.             We
       23    asked him some more stuff about Broward, and he kind
       24    of got amped up again.        And then he was calm at the
       25    time he got placed into handcuffs.


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        1          Q.     Did you ever think during that time that
        2    it would have been appropriate to call medical
        3    personnel to have Tavares Docher checked out?
        4          A.     I didn't think so.      At that point in time,
        5    no, I was still brand new.
        6          Q.     Yet you had all of the authority and power
        7    to make arrests during this time, correct?
        8          A.     Yes.   But I wasn't going to exercise the
        9    authority not really knowing what I was doing.
       10          Q.     During the interaction that you had with
       11    Tavares Docher prior to the point in time in which
       12    Deputy Sheriff Newman placed Tavares Docher in
       13    handcuffs, did you believe that Tavares Docher was a
       14    danger to himself or others?
       15          A.     Yes.
       16          Q.     Why is that?
       17          A.     Because of what he was telling us and the
       18    screwdriver incident.        I, you know, to be honest, if
       19    9-1-1 had not been called and a person of Arabic
       20    descent came into the CVS, he may have stabbed him,
       21    based off what he was telling us.
       22          Q.     So Tavares Docher was placed in handcuffs
       23    behind his back by Deputy Sheriff Newman and put
       24    into the patrol car, correct?
       25          A.     Yes.


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        1          Q.     And after being placed in the patrol car,
        2    he ran out of the patrol car, correct?
        3          A.     Yes.
        4          Q.     And after Tavares Docher ran out of the
        5    patrol car, is it correct that you struck a large
        6    muscle mass on or about Tavares Docher's legs and
        7    hips?
        8          A.     His upper thigh, yes.
        9          Q.     Why did you do that?
       10          A.     To stifle him from running away full speed
       11    with his hands tied behind his back.           It was a
       12    technique taught to us inside the basic law academy.
       13          Q.     At this point there were three officers on
       14    scene, correct?
       15          A.     Yes.
       16          Q.     At this point in time Tavares Docher still
       17    had the handcuffs behind his back.
       18          A.     Yes.
       19          Q.     And after you struck his legs and hip, he
       20    fell to the ground, correct?
       21          A.     No, I struck his hips, and then I grabbed
       22    his legs, and then we fell to the ground.
       23          Q.     And when you fell to the ground, what
       24    position did you take on Tavares Docher at that
       25    point in time?


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        1          A.     His legs.
        2          Q.     And Deputy Sheriff Mangrum was where at
        3    that point?
        4          A.     He was near his upper body.
        5          Q.     And where was Deputy Newman at that point
        6    in time?
        7          A.     Near his upper body.
        8          Q.     While all three deputies were trying to
        9    control Tavares Docher, was he struggling?
       10          A.     Yes.
       11          Q.     And while Tavares Docher was on the ground
       12    struggling, did Deputy Mangrum utilize palm heel
       13    strikes to large muscle areas, including Tavares's
       14    shoulders, chest, and back?
       15          A.     I don't know.     I didn't see that, but
       16    that's what's in the report.
       17          Q.     What is a palm heel strike to a large
       18    muscle area?
       19          A.     It is when you take your open hand, curl
       20    your fingers halfway down, and use a forward
       21    striking motion making contact with the palm of your
       22    hand to whatever muscle group you're aiming at.
       23          Q.     Based upon your training and experience,
       24    is a palm heel strike when an officer has a closed
       25    fist?


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        1          A.     No.    A palm heel strike is a palm heel
        2    strike.
        3          Q.     So the fist is not closed.
        4          A.     No.
        5          Q.     Is a palm heel strike to a large muscle
        6    mass, including the shoulders, chest, or back, based
        7    on your training and experience, likely to cause
        8    great bodily harm?
        9                 MR. GIUFFREDA:     You could answer.
       10          A.     No.    Well, I think any strike is likely to
       11    cause bodily harm.       But no, it's not classified that
       12    something is restricted.        Only for emergencies.
       13       BY MR. HECHT:
       14          Q.     So would you agree with me that a palm
       15    heel strike to a large muscle mass, including the
       16    shoulders, chest, and back, is likely to cause great
       17    bodily harm?
       18                 MR. GIUFFREDA:     Form.    You could answer.
       19          A.     No.
       20       BY MR. HECHT:
       21          Q.     Didn't you just tell me that any strike
       22    could cause great bodily harm?
       23          A.     Yes.
       24          Q.     Let me ask the question again.         Can a palm
       25    heel strike to a large muscle area, including the


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        1    shoulders, chest, and back, cause great bodily harm?
        2          A.     On a normal, healthy person, no.
        3          Q.     Did you know Tavares Docher was a normal,
        4    healthy person?
        5          A.     He seemed to be.
        6          Q.     Did you examine him?
        7          A.     No.   Just from speaking with him, looking
        8    at his mannerisms.
        9          Q.     And he seemed odd to you?
       10          A.     He seemed normal.
       11          Q.     I thought you said he was off?
       12          A.     There is a lot of off people out there.
       13          Q.     I want to know about him.        Did he seem
       14    normal to you, or was he off?
       15          A.     He seemed off mentally but physically he
       16    seemed normal.
       17          Q.     Did Deputy Newman apply his right thumb to
       18    the nerve mass in the neck of Tavares Docher?
       19          A.     I didn't see him do that.
       20          Q.     If Deputy Newman applied his right thumb
       21    to the nerve mass in Tavares Docher's neck, would
       22    that be classified based upon basic law enforcement
       23    training as likely to cause great bodily harm?
       24                 MR. GIUFFREDA:     Form.    You could answer.
       25          A.     No.


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        1       BY MR. HECHT:
        2          Q.     If Deputy Newman applied his right thumb
        3    to the nerve mass in Tavares Docher's neck based
        4    upon what you've learned in the basic law
        5    enforcement training, would that be classified as
        6    deadly force?
        7                 MR. GIUFFREDA:     Form.    You could answer.
        8          A.     No.
        9       BY MR. HECHT:
       10          Q.     Are you aware if Deputy Newman gave an
       11    elbow strike to the right side of Tavares Docher's
       12    head?
       13          A.     No, I didn't see that.
       14          Q.     If Deputy Newman gave an elbow strike to
       15    the right side of Tavares Docher's head, based upon
       16    what you learned in the basic law enforcement
       17    training, would that be likely to cause great bodily
       18    harm?
       19                 MR. GIUFFREDA:     Form.    You could answer.
       20          A.     Yes.
       21       BY MR. HECHT:
       22          Q.     If Deputy Newman gave an elbow strike to
       23    the right side of Tavares Docher's head based upon
       24    what you learned in the basic law enforcement
       25    training, would that be classified as deadly force?


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        1                 MR. GIUFFREDA:     Form.    You could answer.
        2          A.     From basic law enforcement academy or from
        3    St. Lucie?
        4       BY MR. HECHT:
        5          Q.     Based upon your training in the basic law
        6    enforcement training --
        7          A.     No.
        8          Q.     -- if Deputy Newman gave an elbow strike
        9    to the right side of Tavares Docher's head based
       10    upon any of the training experience that you have
       11    ever been through, would that be likely to cause
       12    great bodily harm?
       13                 MR. GIUFFREDA:     Form.    You could answer.
       14          A.     Yes.
       15       BY MR. HECHT:
       16          Q.     If Deputy Newman gave an elbow strike to
       17    the right side of Tavares Docher's head, based upon
       18    any and all of the training and experience that
       19    you've undergone in your law enforcement career,
       20    would those actions be classified as deadly force?
       21                 MR. GIUFFREDA:     Form.    You could answer.
       22          A.     No.
       23       BY MR. HECHT:
       24          Q.     Did you ever witness Deputy Newman give an
       25    elbow strike to the right side of Tavares Docher's


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        1    head?
        2                 MR. GIUFFREDA:     Form.    You could answer.
        3           A.    No.
        4       BY MR. HECHT:
        5           Q.    If you had seen Deputy Newman strike
        6    Tavares Docher with his elbow to the right side of
        7    his head, would you have told Deputy Newman to stop
        8    doing that?
        9                 MR. GIUFFREDA:     Form.    You could answer.
       10           A.    Yes.
       11       BY MR. HECHT:
       12           Q.    Why?
       13           A.    Because it wouldn't need it.         I don't
       14    know.
       15           Q.    Why would Tavares Docher not have needed a
       16    right elbow -- strike that.
       17                 Why would Tavares Docher not have needed
       18    an elbow strike to the right side of his head?
       19                 MR. GIUFFREDA:     Form.    You could answer.
       20           A.    From my perspective, it didn't seem that
       21    way.
       22       BY MR. HECHT:
       23           Q.    What did not seem that way?
       24           A.    That he needed it.
       25           Q.    Why did he not need it?


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        1                 MR. GIUFFREDA:     Form.    You could answer.
        2          A.     From my perspective, he was fighting with
        3    me with his legs, and there is just no need to hit
        4    somebody while they're on the ground handcuffed and
        5    struggling.
        6       BY MR. HECHT:
        7          Q.     If Deputy Newman gave an elbow strike to
        8    Tavares Docher's head, based on your training and
        9    experience would Deputy Newman have utilized
       10    excessive and unreasonable use of force?
       11                 MR. GIUFFREDA:     Form, you could answer.
       12          A.     No.
       13       BY MR. HECHT:
       14          Q.     But you would agree with me that if Deputy
       15    Newman gave an elbow strike to the right side of
       16    Tavares Docher's head, that based upon your training
       17    and experience that would be likely to cause great
       18    bodily harm?
       19                 MR. GIUFFREDA:     Form.    You could answer.
       20          A.     Yes.
       21       BY MR. HECHT:
       22          Q.     But it would not be considered excessive
       23    and unreasonable use of force under these
       24    circumstances?
       25                 MR. GIUFFREDA:     Form.    You could answer.


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        1          A.     Every officer conceives the situation
        2    differently.      I can't say what Deputy Newman felt or
        3    saw was needed at the time.         Deputy Newman was a lot
        4    more experienced than I was.         At this point, like I
        5    said, I had been working the road for two weeks.
        6    So, approximately 10 days.         So I can't tell you that
        7    yes or no, whether Deputy Newman did the right
        8    actions based off his appropriate training.             But for
        9    me at that point, no.
       10       BY MR. HECHT:
       11          Q.     If you were controlling Tavares Docher's
       12    legs and Deputy Mangrum and Deputy Newman were
       13    controlling his upper body, if in that circumstance
       14    Deputy Sheriff Newman, while Tavares Docher was
       15    handcuffed behind his back, gave an elbow strike to
       16    Tavares Docher's head, do you believe that Deputy
       17    Sheriff Newman in doing that used excessive and
       18    unreasonable use of force?
       19                 MR. GIUFFREDA:     Form.    You could answer.
       20          A.     No, I can't speak for Deputy Newman and
       21    his own actions.
       22       BY MR. HECHT:
       23          Q.     At any point during the struggle with
       24    Tavares Docher, did you ever say to Deputy Sheriff
       25    Newman or Deputy Sheriff Mangrum to stop hitting


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                                                                       Page 61
        1    Tavares Docher or striking Tavares Docher in any
        2    way?
        3                 MR. GIUFFREDA:     Form.    You could answer.
        4           A.    No, not from what I recall.
        5       BY MR. HECHT:
        6           Q.    What involvement did Deputy Sheriff Wade
        7    Courtemanche have during this interaction with
        8    Tavares Docher?
        9           A.    To be honest, I don't remember.
       10           Q.    Do you remember Deputy Sheriff Wade
       11    Courtemanche at CVS?
       12           A.    No, I never saw him there.
       13           Q.    During your entire interaction with
       14    Tavares Docher, was at any point Tavares Docher
       15    causing you to believe that he was exhibiting a
       16    level of force whereby it would be necessary to
       17    justify your use of deadly force?
       18           A.    Deadly force?     No.
       19           Q.    Based upon your interaction with Tavares
       20    Docher at the CVS, was Tavares Docher at any point
       21    in time causing you to believe that Tavares Docher
       22    was exhibiting a level of force against Deputy
       23    Sheriff Newman or Deputy Sheriff Mangrum whereby it
       24    would have been necessary for Deputy Sheriff Newman
       25    or Deputy Sheriff Mangrum to justify the use of


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        1    deadly force against Tavares Docher?
        2          A.     No.
        3          Q.     Were you trained in basic law enforcement
        4    training to intervene when you see another officer
        5    committing a constitutional violation of deadly
        6    force?
        7          A.     Yes.
        8          Q.     Were you also taught this in your training
        9    at the St. Lucie County Sheriff's Office?
       10          A.     Yes.
       11          Q.     Was it solely Deputy Sheriff Newman's
       12    decision to make an arrest in this case; or did he
       13    discuss whether to make an arrest with either you
       14    and Deputy Sheriff Mangrum?
       15          A.     It was his decision because it was his
       16    arrest.
       17          Q.     Did you ever have a conversation with
       18    Tavares Docher after he was handcuffed and on the
       19    ground?
       20          A.     No.
       21          Q.     Did you ever tell Tavares Docher to stop
       22    resisting once he was on the ground with handcuffs
       23    behind his back?
       24          A.     Yes.
       25          Q.     So it's your testimony that Tavares Docher


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        1    was resisting arrest?
        2          A.     He was, yes.
        3          Q.     How was he resisting arrest?
        4          A.     For one, he tried to flee.        And two, we
        5    had to tackle him to the ground.          And three, he was
        6    bucking and flailing around his legs, so I was on
        7    top of his legs and I had to tell him to stop
        8    resisting.
        9          Q.     Is one of the reasons that Tavares Docher
       10    was flailing his legs, as you say, because he
       11    couldn't breathe?
       12                 MR. GIUFFREDA:     Form.    You could answer.
       13          A.     No.
       14       BY MR. HECHT:
       15          Q.     This was a significant struggle, wasn't
       16    it?
       17          A.     Yes.
       18          Q.     Do you remember how Tavares Docher was
       19    breathing?
       20          A.     He was -- no, not specifically, not at
       21    this point.
       22          Q.     Was he having a difficult time breathing?
       23          A.     I don't think so.
       24          Q.     Have you seen any video footage of the
       25    arrest of Tavares Docher or anything thereafter?


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        1          A.     Yes.
        2          Q.     You saw the struggle on video?
        3          A.     Yes.
        4          Q.     It was taken by a bystander.
        5          A.     Yes.
        6          Q.     When was the last time you saw that video?
        7          A.     Today.
        8          Q.     Right before this deposition?
        9          A.     Uh-huh.
       10          Q.     How long did the struggle last once you
       11    and Tavares Docher fell to the ground?
       12          A.     I'd say it lasted less than a minute.           And
       13    he calmed down and then he -- for a minute or two.
       14    And he started struggling again for, like, another
       15    minute or two, and then he calmed down.            And by the
       16    time fire rescue came, he was calm until we
       17    attempted to put him on the gurney, and then he
       18    began to become hostile again.
       19          Q.     Prior to fire rescue arriving and your
       20    attempt to put him on a gurney, how long did the
       21    struggle last for?
       22                 MR. GIUFFREDA:     In total, or which --
       23                 MR. HECHT:     In total.
       24       BY MR. HECHT:
       25          Q.     Prior to fire rescue arriving, how long


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        1    did the total struggle last for?
        2          A.     I don't know specifically.
        3          Q.     How long was Tavares Docher face first on
        4    the ground with his stomach on the ground?
        5          A.     I don't know specifically.        But at one
        6    point I remember rolling him over to the side so he
        7    can breathe.
        8          Q.     Prior to rolling him over to the side, how
        9    long had the struggle lasted for?
       10          A.     Less than a minute.
       11          Q.     When you were -- when you fell down with
       12    Tavares Docher, why was there a need for three
       13    officers to gain control of him?
       14          A.     Well, when he lunged out of the car, he
       15    lunged at the two other deputies.           I stood to the
       16    side.    And as he pushed him across the parking lot,
       17    that's when I performed the take-down.            It just
       18    happened just like that.
       19          Q.     Why didn't you just lift Tavares Docher
       20    off the ground since he was handcuffed behind his
       21    back?
       22                 MR. GIUFFREDA:     Form.
       23          A.     Because that's dangerous.
       24       BY MR. HECHT:
       25          Q.     Why is that dangerous?


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        1          A.     If I lift him several feet off the air and
        2    he falls on his head while he's handcuffed, he could
        3    get hurt.
        4          Q.     So based upon your training and
        5    experience, are you trained to keep an individual
        6    laying on the ground with handcuffs behind them?
        7          A.     Yes, until you can gain compliance.
        8          Q.     No matter how much time goes by and how
        9    long a struggle ensues.
       10          A.     Yes.   And then once they're compliant, you
       11    lift them you up.       You can either sit them up or
       12    roll them on their side, whatever.           But you don't
       13    pick them up.
       14          Q.     Did you have any conversations with
       15    paramedic Jose Rosario prior to that paramedic
       16    administering the injection?
       17          A.     Yes, a quick conversation.        He asked what
       18    happened, and we told him that we had to take him
       19    down to the floor, he hit his head, and that's where
       20    the blood came from, and that was pretty much it.
       21          Q.     Did paramedic Jose Rosario ever discuss
       22    with you whether or not he should inject Tavares
       23    Docher with any sort of medication?
       24          A.     No.
       25          Q.     Did you hear any conversations -- let me


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        1    rephrase.
        2                 Did you ever hear any conversations
        3    between any of the deputies on scene discuss whether
        4    or not Jose Rosario should inject Tavares Docher
        5    with a medication?
        6          A.     No.
        7          Q.     Did you ever see Jose Rosario, who was the
        8    paramedic that injected my client with a sedative --
        9    did you ever see him try and talk to Tavares Docher
       10    prior to administering the injection?
       11          A.     Yes.
       12                 MS. TYK:    Form.
       13       BY MR. HECHT:
       14          Q.     What do you remember about that
       15    conversation?
       16          A.     She said something.
       17          Q.     It's okay.
       18                 MR. GIUFFREDA:      You could answer.
       19          A.     I remember him saying, "Hey man, what's
       20    up?   How can we help you?"        I think that's pretty
       21    much it.
       22       BY MR. HECHT:
       23          Q.     He literally said, "Hey man, what's up?
       24    How can we help you?"
       25          A.     Yes, from what I remember.


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        1          Q.     And do you recall what Tavares Docher's
        2    response was?
        3          A.     He didn't respond.      He just kind of just
        4    sat there.     When we turned him over, he kicked him.
        5          Q.     Did you ever -- strike that.
        6                 Were you ever investigated by internal
        7    affairs as a result of this incident?
        8          A.     Yes.
        9          Q.     And what was the outcome of that?
       10          A.     I was cleared negative findings, I guess
       11    is the proper termination.
       12          Q.     You were not disciplined and sanctioned in
       13    any way as a result of your involvement with this
       14    incident?
       15          A.     No.
       16          Q.     Do you know if any of the officers
       17    involved with this incident on May 11, 2014 were
       18    ever disciplined or sanctioned in any way?
       19          A.     No, I don't think so.
       20          Q.     Do you believe that you followed all of
       21    the customs, policies, and procedures of the
       22    St. Lucie County Sheriff's Office in your
       23    involvement with this incident involving my client?
       24                 MR. GIUFFREDA:     Form.    You could answer.
       25          A.     Yes.


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        1
        2       BY MR. HECHT:
        3          Q.     Do you believe that the actions of Deputy
        4    Sheriff Newman and Deputy Sheriff Mangrum complied
        5    with the customs, policies, and practices of the
        6    St. Lucie County Sheriff's Office and their
        7    involvement in this case?
        8                 MR. GIUFFREDA:     Form.    You could answer.
        9          A.     Yes.
       10                 MR. HECHT:     All right.    Why don't we take
       11          a break?      We can go off the record.
       12                 (Recess 12:25 p.m. until 12:32 p.m.)
       13       BY MR. HECHT:
       14          Q.     All right, sir.      I'm going to show you a
       15    video that's approximately 1 minute and 11 seconds,
       16    and it was taken by a bystander.          I'm going to have
       17    you watch the video, and then I will ask you some
       18    questions.     Okay?
       19          A.     Okay.
       20                 (Video played.)
       21       BY MR. HECHT:
       22          Q.     Based on the video that you just watched,
       23    I see that there are two white officers and a black
       24    officer, correct?
       25          A.     Yes.


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        1           Q.    Who is the officer who is a white male
        2    with a bald head?
        3           A.    That is Deputy Clay Mangrum.
        4           Q.    And who is the other white officer?
        5           A.    Deputy Christopher Newman.
        6           Q.    In this video did you see Deputy Sheriff
        7    Mangrum with his foot on Tavares Docher's neck?
        8           A.    No.    I saw it his on back.
        9           Q.    And what offensive or defensive technique
       10    is that known as?
       11           A.    I don't know.     I've never learned that
       12    one.
       13           Q.    Is the "foot on the back technique"
       14    trained in the basic law enforcement training
       15    program?
       16           A.    No.
       17           Q.    Did you ever learn the "foot on the back
       18    technique" during your training with the St. Lucie
       19    County Sheriff's Office?
       20           A.    No.
       21           Q.    Is that an approved technique?
       22           A.    I don't know.     I never heard them speak
       23    about saying not to do it.
       24           Q.    And the third officer, is that you?
       25           A.    Yes.


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        1          Q.     In this video, at any point did you see
        2    yourself punch Tavares Docher on his side?
        3          A.     There is a closed-fist strike to his upper
        4    thigh.
        5          Q.     And what was the purpose of you striking
        6    Tavares Docher with a closed fist strike to his
        7    upper thigh?
        8          A.     To gain compliance from him to stop him
        9    from kicking.
       10          Q.     Did you have any other options besides
       11    punching him?
       12          A.     At that part of his body, no.
       13                 MR. HECHT:     Okay.   You could go back and
       14          sit down.      That's all the questions I have on
       15          the video.     Let me go back and look at my notes
       16          very quickly, sir.
       17                 Okay.   Thank you, sir, I don't have any
       18          other questions.
       19                 MR. GIUFFREDA:     Julie?
       20                 MS. TYK:    Yep, just a couple.
       21                           CROSS-EXAMINATION
       22       BY MS. TYK:
       23          Q.     Good afternoon.      My name is Julie Tyk.       I
       24    represent the St. Lucie Fire District and Jose
       25    Rosario.     I just have a few questions for you.


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        1                 Do you personally know Mr. Rosario?
        2          A.     No.
        3          Q.     Do you recall anytime during the struggle
        4    in which Mr. Docher was yelling, "Don't let them
        5    kill me" on May 11, 2014?
        6          A.     You said, "Do I recall that"?
        7          Q.     Right.
        8          A.     Yes, ma'am.
        9          Q.     Okay.    When the fire rescue EMS personnel,
       10    including Mr. Rosario, arrived on scene, was
       11    Mr. Docher yelling that phrase at that time?
       12          A.     No.
       13          Q.     Was there any discussions with the fire
       14    rescue personnel, including Mr. Rosario, to give
       15    Tavares Docher an injection to prevent him from
       16    speaking?
       17          A.     No, ma'am.
       18                 MS. TYK:    That's all the questions I have.
       19                 MR. GIUFFREDA:     I have none.      Do you have
       20          any more?      If it's ordered, he'll read.
       21                 MR. HECHT:     I will be ordering.
       22                 MR. GIUFFREDA:     I'll take a regular and a
       23          mini.
       24                 THE COURT REPORTER:       Ms. Tyk, do you need
       25          a copy?


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        1                 MS. TYK:    Yes.   E-tran, please.
        2                 MR. GIUFFREDA:     As far as reading goes,
        3          can you send it to me and I'll make sure he
        4          gets it?
        5                 (The proceedings concluded at 12:40 p.m.)
        6
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                                  CERTIFICATE OF OATH




             STATE OF FLORIDA
             COUNTY OF PALM BEACH




                            I, the undersigned authority, certify
                 that CALVIN ROBINSON personally appeared before
                 me and was duly sworn on the 25th day of May,
                 2017.
                            Signed this 30th day of May, 2017.




                                    ________________________________
                                    PATRICIA A. LANOSA, RPR, FPR, CSR
                                    Notary Public, State of Florida
                                    My Commission No. FF 169350
                                    Expires: 10/19/2018




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                                CERTIFICATE OF REPORTER


             STATE OF FLORIDA
             COUNTY OF PALM BEACH


                            I, PATRICIA A. LANOSA, Registered
                 Professional Reporter, do hereby certify that I
                 was authorized to and did stenographically report
                 the foregoing deposition of CALVIN ROBINSON;
                 Pages 1 through 77; that a review of the
                 transcript was requested; and that the transcript
                 is a true record of my stenographic notes.
                            I FURTHER CERTIFY that I am not a
                 relative, employee, attorney, or counsel of any
                 of the parties, nor am I a relative or employee
                 of any of the parties' attorneys or counsel
                 connected with the action, nor am I financially
                 interested in the action.
                            Dated this 30th day of May, 2017.


                                    ________________________________
                                    PATRICIA A. LANOSA, RPR, FPR, CSR




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             May 30, 2017
             PURDY, JOLLY, GIUFFREDA & BARRANCO, PA
             c/o Calvin Robinson
             2455 East Sunrise Boulevard, Suite 1216
             Fort Lauderdale, Florida 33304
             (954)462-3200
             ATTN: RICHARD GIUFFREDA, ESQUIRE

             Re: Docher v. Newman et al.
             Case No.: 2:16cv14413
             Please take notice that on the 25th day of May,
             2017, you gave your deposition in the above cause.
             At that time, you did not waive your signature.
             The above-addressed attorney has ordered a copy of
             this transcript and will make arrangements with you
             to read their copy. Please execute the Errata
             Sheet, which can be found at the back of the
             transcript, and have it returned to us for
             distribution to all parties.

             If you do not read and sign the deposition within
             thirty (30) days, the original, which has already
             been forwarded to the ordering attorney, may be
             filed with the Clerk of the Court.
             If you wish to waive your signature now, please sign
             your name in the blank at the bottom of this letter
             and return to the address listed below.
             Very truly yours,

             PATRICIA A. LANOSA, RPR, FPR, CSR
             Phipps Reporting, Inc.
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             West Palm Beach, Florida 33401
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             _______________________________
             CALVIN ROBINSON




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                                      ERRATA SHEET
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                           In Re: DOCHER V. NEWMAN ET AL.
                               Case No.: 2:16cv14413
                                   CALVIN ROBINSON
                                     May 25, 2017


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             Under penalties of perjury, I declare that I have
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               A          air 19:9,10,15     appropriate          43:19 45:20    50:22
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       able 24:5,7,8,9      43:7 47:9        approved 70:21     assigned 20:16  Baker 31:4 32:4
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